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                                  UNITED STATES DISTRICT COURT
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                                          DISTRICT OF NEVADA
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 8   UNITED STATES OF AMERICA,                 )
                                               )
 9                     Plaintiff,              )                  Case No. 2:13-cr-00018-JCM-GWF
                                               )
10   vs.                                       )                  SEALED ORDER
                                               )
11                                             )                  Ex Parte Motion for Funding of
     KEITH GREGORY, et al.,                    )                  Defense Expenses Under the Criminal
12                                             )                  Justice Act (#306)
                       Defendants.             )
13   __________________________________________)
14           This matter comes before the Court on Defendant Keith Gregory’s Ex Parte Motion for
15   Funding of Defense Expenses Under the Criminal Justice Act (#306), filed on July 9, 2014.
16   Defendant Gregory filed his Affidavit of Financial Condition (#331) under seal on August 11,
17   2014.
18           The Criminal Justice Act allows the Court to authorize payment of expenses for defendants
19   charged with crimes in Federal Court. See 18 U.S.C. 3006A. 18 U.S.C. 3006A(e)(1) states that
20   “Upon request, Counsel for a person who is financially unable to obtain investigative, expert, or
21   other services necessary for adequate representation may request them in an ex parte application.
22   Upon finding, after appropriate inquiry in an ex parte proceeding, that the services are necessary
23   and that the person is financially unable to obtain them, the court, or the United States magistrate
24   judge if the services are required with a matter over which he has jurisdiction, shall authorize
25   counsel to obtain the services.”
26           Here, Defendant Gregory requests funding through 18 U.S.C. 3006A(e)(1) for his portion of
27   the hosting and access costs of the Catalyst database. Defendant Gregory alleges that the Catalyst
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 1   database is essential to his defense as there is “no ready mechanism for counsel to obtain, much less
 2   review and organize, [discovery] data other than through the database provider...”. Defendant
 3   Gregory further alleges that while he has retained counsel, his resources are not unlimited and he
 4   has been unable to keep current on the monthly database expense, which amounts to more than
 5   10% of his monthly defense costs. The Court therefore finds that Defendant Gregory has averred
 6   sufficient facts to establish the necessity of the Catalyst database service for an adequate defense
 7   and has shown a financial hardship in paying for the necessary service. Accordingly,
 8          IT IS HEREBY ORDERED that Defendant Keith Gregory’s Ex Parte Motion for Funding
 9   of Defense Expenses Under the Criminal Justice Act (#306) is granted to the extent that Defendant
10   Gregory will not be required to pay his portion of the monthly hosting and access cost of the
11   Catalyst database. The Court shall pay Defendant Gregory’s portion of the monthly hosting fee of
12   $1,790.32 pursuant to 18 U.S.C. § 3006A(e)(1).
13          DATED this 13th day of August, 2014
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                                                   ______________________________________
16                                                 GEORGE FOLEY, JR.
                                                   United States Magistrate Judge
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